                      Case 6:18-cv-06477-MAT Document 5 Filed 08/03/18 Page 1 of 9



Revised 03/06 WDNY                           UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF NEW YORK
                                                                                                                   LPlSTRiel,
               FORM TO BE USED IN FILING A CIVIL COMPLAINT IN FEDERAL COURT
                                                        (Non-Prisoner Context)

All material filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information.

                                                       1. CAPTION OF ACTION


A.       Full Name of Plaintiff: NOTE: Ifmore than one plaintifffiles this action and seeks informa paitperis status, each plaintiff
must submit an in forma pauperis application or the only plaintiff to be considered will be the plaintiff who filed an application.


     Vx/ i I ( ^ ^


                                                                      -vs-


B.       FullName(s)ofDefendant(s) NOTE: Pursuant to Fed.R.Civ.P. 10(a), the names ofall parties must appear in the caption.
The court may not consider a claim against anyone not identified in this section as a defendant. Add a separate sheet, if necessary.

1. ^1(               KV                  f              T
                                                         y-
                                                                             5.

3.                                                                           6.




                            2. STATEMENT OF JURISDICTION. VENUE and NATURE OF SUIT
                                                All ofthese sections MUST be answered

Identify the basisforfederal Courtjurisdiction over your claim, such as that the United States government is a party to the action, all the
parties reside in different states and therefore you claim diversity jurisdiction, or the claim presents a federal question or arises under
federal law.


A. Basis of Jurisdiction in Federal Court: [^AcE                       \ SC t'' i tU i Nu A"Tl CO - *-{2^ VJ SC.                    "ZOCO^
     ! )\^fA lo'i 1 1 Kj 7>> 5c V I              r^cA-H f.n               ^ 7- ySC I 7.. 1 2,-
State why the Western District ofNew York is the proper venuefor this action, such as that your claim arises in or the defendant resides
in the 17 westernmost counties of New York State.


B. Reason for Venue in the Western District:_

     ( tfs^,vn p I <;-W t r -t- (4                            )
Identify the nature ofthis action, such as that it is a civil rights claim, a personal injury or personal property (tort) claim, a property rights
claim, or whatever it is.


C. Nature of Suit:_                                                               cd                            C\C(.ommoda-ficn3
     Aod 17. Id1 1 1 -k,| "D I                                > on I nati er)
                Case 6:18-cv-06477-MAT Document 5 Filed 08/03/18 Page 2 of 9




                                            3. PARTIES TO THIS ACTION

PLAINTIFF'S INFORMATION NOTE: To list additional plaintiffs, use thisformat on another sheet ofpaper.

Name of First Plaintiff:^
            ress: 3S /^ tO i ivg k <f
Present Address                                              Rci                              IV). ^ / VH
Name of Second Plaintiff:,
Present Address:



DEFENDANT'S INFORMATION NOTE: To list additional defendants, use thisformat on another sheet ofpaper.

Name ofFirst Defendant:           S)4^tvj               Cq+hvy
Official Position of Defendant(if relevant):.
Address of Defendant:




Name of Second Defendant:

Official Position of Defendant (if relevant):^
Address of Defendant:



Name of Third Defendant:

Official Position of Defendant(if relevant):_

Address of Defendant:




                            4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

A.      Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?
                  Yes        No ^
If Yes, complete the next section. NOTE:Ifyou have brought more than one lawsuit dealing with the samefacts as this
action, use thisformat to describe the other action(s) on another sheet ofpaper.
1.      Name(s)of the parties to this other lawsuit:
        Plaintiff(s):
                   Case 6:18-cv-06477-MAT Document 5 Filed 08/03/18 Page 3 of 9




        Defendaiit(s):^


2.      Court(iffederal court, name the district; if state court, name the county):^


3.      Docket or Index Number:_
4.      Name ofJudge to whom case was assigned:
5.      The approximate date the action was filed:_
6.      What was the disposition of the case?
                Is it still pending? Yes S( No
                           If not, give the approximate date it was resolved.
                 Disposition(check those statements which apply):
                          Dismissed (check the statement which indicates why it was dismissed):
                                   By court sua sponte as frivolous, malicious or for failing to state a claim
                                   upon which relief can be granted;
                                   By court for failure to prosecute, pay filing fee or otherwise respond to a
                                   court order;
                                   By court due to your voluntary withdrawal of claim;
                       ■Tudgment upon motion or after trial entered for
                                plaintiff
                                 defendant.




                                                  5. STATEMENT OF CLAIM

Please note that it is not enough to just list the ground(s) for yoin action. You must include a statement of the facts which
you believe support each of your claims. In other words, just tell the story of what happened and do not use legal jargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief." "The function of pleadings tmder the Federal Rules is to give fair notice of the claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial." Simmons v. Abruzzo. 49 F.3d 83, 86 (2d Cir. 1995).

Fed.R.Civ.P. 10(b) states that "[a]ll averments of claim... shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances."



A. FIRST CT.ATM: On {date of the incident) _
defendant (give the name and (if relevant) the position held of each defendant involved in this incident)
                   Case 6:18-cv-06477-MAT Document 5 Filed 08/03/18 Page 4 of 9




did the following to me {briefly state what each defendant named above did):




The federal basis for this claim is; iSCv,                  AtJ b                  0(\ nr\y       KJci"; doip p fird
 (iiSaV);                   (a(\A C.Qk)V"                    ^                 ^
S^te  briefl^exactly
State briefly exa    what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:
Viv        p.




B. SECOND CLAIM; On {date ofthe incident)
defendant {give the name and(ifrelevant) position held ofeach defendant involved in this incident).




did the following to me {briefly state what each defendant named above did):




The federal basis for this claim is:



State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:




If you have additional claims, use the above format to set them out on additional sheets of'paper.
                 Case 6:18-cv-06477-MAT Document 5 Filed 08/03/18 Page 5 of 9




                                      6. SUMMARY OF RET JF.F SOUGHT

                       Summarize the reliefrequested by you in each statement ofclaim above.




Do you want a jury trial? Yes y     No

I declare under penalty of perjury that the foregoing is true and correct.
Executed on
                      (date)

NOTE: Each plaintiffmust sign this complaint and must also sign all subsequentpapersfiled with the Court.




                                                                     Signature(s) ofPlaintiff(s)
            Case 6:18-cv-06477-MAT Document 5 Filed 08/03/18 Page 6 of 9
                                                                                     Bentley, Willie 1
                                                                                          18-CV-6477


I.

I Willie Bentley, am an African American handicapped, Senior Citizen and I have never seen
any ofthe white handicapped senior citizens questioned as to why they were parking in a
handicapped parking spot at my local McDonalds. However,I was questioned as to why I was
parked in a handicapped spot in March of 2018. In 2013 I was officially diagnosed as disabled
and removed from work by Dr. Merzel. I have a current handicapped parking permit and 1 keep
it in my car at all times.

II.


I have been going to the McDonalds in Lakeville, NY to get coffee every moming for years and
never had any trouble. In March of 2018, Lia Trimble, a white employee at McDonalds,
questioned me about parking in a handicapped parking spot. She said,"You don't look
handicapped." She was clearly violating my civil right to privacy, so I told her to mind her own
business. I felt that she had no right to know why my doctor had deemed me handicapped and
given me a handicapped parking permit. Her line of questioning was more than likely racially
motivated as well. 1 am an African American handicapped. Senior Citizen and I have never seen
any ofthe white handicapped senior citizens questioned as to why they were parking in a
handicapped parking spot. 1 had hoped that after politely asking her to mind her own business
that she would let it go. However,she continued to be rude to me throughout the month of
March. She would speak to me in a demeaning and condescending tone of voice when taking my
order and would gruffly shove my coffee at me while clearly being pleasant and conversational
towards the other white customers. It became clear to me that as an African American Senior
Citizen 1 was not welcome at McDonalds anymore.

III.


I tried to ignore her actions and just go about my business until on April 3,2018 Trimble
threatened to call the police because I was parked in a handicapped spot that is reserved for
individuals with disabilities. I am an individual with a disability and I have just as much right to
park in those handicapped spots as the other white disabled individuals have; however,she never
questioned their disability. I simply told her to do what she had to do; knowing that I had done
nothing wrong. She did not call the police on me that day and I told her to leave me alone and
           Case 6:18-cv-06477-MAT Document 5 Filed 08/03/18 Page 7 of 9
                                                                                    Bentley, Willie 2
                                                                                         18-CV-6477


not bother me. She continued to be rude and condescending when she interacted with me,
making me feel extremely unwelcome in a public place, McDonalds of Lakeville, NY;so I
decided that I should speak with the district manager, Merica Micheaux, and try to put an end to
the discrimination that I was dealing with. I explained everything that had happened and she
said,"I do not know why she would do that, all you do is go in and drink your coffee and you
have parked in a handicapped spot ever since I have known you." I then explained to her that I
simply wanted it to stop so I could feel welcome again while I drank my morning coffee. She
said that she would talk to her and I figured that it would stop and everything would go back to
normal.


IV.


The rudeness, disrespect and discrimination did stop for a few weeks, but then on May 9,2018,1
was drinking my coffee at Sam and about 15 minutes later Trimble walked in with her boyfriend
and then 10 minutes after that there was a Livingston County Sheriff parked behind my car. I had
no Idea what was going on. She never warned me that she was going to be calling the police on
me for being parked in a handicapped spot. So I went out to see what was going on and the
officer told me that he did not see anything wrong with my handicapped sticker and I was not
violating the law. I then went back into McDonalds to finish my coffee and Trimble's boyfriend
approached me and aggressively told me that he did not believe that it was my handicapped
sticker, that it must be someone else's sticker. I told him to leave me alone and that 1 was going
to talk to the owner, Justin McCarthy. Before I left to go speak with him at the other McDonalds
that he owns I told Jesica Poprawski Warner that I wanted Justin to contact me about the
harassment that I was receiving. Later I went to the Avon NY McDonalds to speak with Justin
McCarthy about how I had been discriminated and harassed at his place of business. When I got
there, he asked me what was going on and I said,"Did your district manager tell you that I was
being harassed and discriminated against in your store?" He explained that they did not say
anything to him until they saw me pull up, so I explained the entire situation that had transpired
over the past 3 months. All he could say was,"why, why, you don't do anything, you don't
bother anyone, you just sit and drink your coffee." He then apologized and I told him that I did
not want any trouble; I just wanted it to stop so that I could sit and enjoy my coffee without
being harassed and discriminated against.
             Case 6:18-cv-06477-MAT Document 5 Filed 08/03/18 Page 8 of 9
                                                                                    Bentley, Willie 3
                                                                                         18-CV-6477




I hoped at this point that everything would be settled, however, a friend of my told me that
Trimble's boyfriend was bad mouthing me around town and saying that I was parking in
handicapped spots without a legitimate sticker and calling me distasteful names, so I decided to
go back and speak with McCarthy again. He was not there so I left my name and phone number
for him and asked him to call me. To this day, I have not heard from him. I did go back to the
Lakeville McDonalds and spoke with a different employee while she was on her break. When I
asked her why she was treating me so badly she explained that they all knew about it, but had
nothing to do with it. This upset me so much that I had to stop going to McDonalds because it
was making my medical condition worse.

VI.


On June 14, 2018 I filed a claim for discrimination with New York State Division of Human
Rights regarding this incident. The Division of Human Rights is still investigating the situation at
this time.


VII.


I believe that no one should be treated that way and that everyone has the right to the privacy of
any medical condition and should not have to go through the scrutiny, harassment and
discrimination that I have endured. One should be able to enjoy a pleasant cup of coffee in a
public place. All I was looking for was for someone to be disciplined for treating me poorly and
for the harassment to stop. I really do not understand why I was treated this way, perhaps
because 1 am an African American; not because I am a handicapped senior citizen, because
plenty of other white handicapped senior citizens were not harassed for parking in handicapped
spots. I truly hope that all ofthis harassment will end and I will be able to go back to my
hometown McDonalds and enjoy my morning coffee again.



Signature                                                  Date ^Q
                                                   ^' ej^ey Co'J/r'Z
Case 6:18-cv-06477-MAT Document 5 Filed 08/03/18 Page 9 of 9

                                                    tf-CV'QMll


                Accessible Parking Record
                      07/13/2018




   Permit#:       0003908601       Permanent

      Name:       BENTLEY, WILLIE

    Address:      3518 W LAKE ROAD

                  GENESEO NY 14454

 Date Issued:     09/26/2014

Date Expires:     09/30/2019
      Phone:      (585)719-6316
   Birthday:      05/29/1957
   Physician:     DHARAM P. SINGLA, MD
 Comments:        NYSDL # 671477884
